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        13.     Magoo Financial is a foreign corporation and may be served at 13943 Irvine
Blvd, #85, Irvine, CA 92602.
        14.     Oklahoma Heritage Bank is a domestic banking corporation and may be
served through its Registered Agent R. Darryl Fisher at 515 S. Hickory, Roff, OK 74865.
        15. TCF Inventory Finance is an Ol<lahoma corporation, which may be served
through its Registered Agent CT Corporation System at 1833 South Morgan Road, Oklahoma
City, OK 73128.
       16. The United States Small Business Administration is a federal agency which
may be served through its registered agent Corporation Services Company at 801 Adlai
Stevenson Drive, Springfield, IL 62703.
       17. This Court possesses jurisdiction pursuant to 20 O.S. § 91.1 and venue is
proper in this Court pursuant to 12 o.s. §§ 131, 134, & 143.

                                        CPCDC LOAN # 8351
        18.   On or about June 21, 2018, Beauchamp and Ada Outdoors, for good and·
valuable consideration, made, executed and delivered to Plaintiff, a certain written
Promissory Note in the original amount of Two Hundred Nine Thousand Seven Hundred
Dollars ($209,700.00). A copy of Note 8351 is attached hereto as Exhibit 1. Note 8351 had an
original maturity date of July 1, 2023.
       19.    As part of the same transaction, and to secure Note 8351 Beauchamp and Ada
Outdoors, made, executed, and delivered to the Plaintiff, a Real Estate Mortgage with Power
of Sale (Mortgage 8351), which· mortgaged and conveyed to the Plaintiff, the following
described real estate:

       A part of the SW/4 of Section 5, Township 3 North, Range 6 East of the Indian Base
       and Meridian, Pontotoc County, Oklahoma, described as follows: Commencing at
       the Southeast Corner of the SW/4 of SE/4 of SW/4 of said Section 5, thence
       S89°16'21"W along the South line thereof a distance of 376.56 feet to the point of
       beginning; thence continuing S89°16'21"W along said South line a distance of 276.06
       feet to a point on the East right of way line of State Highway 1; thence N00°22'51"E
       along and with said East right of way line a distance of 239.82 feet; thence continuing
       along and with said East right of way on a curve to the left, said curve having a radius
       of 2034.86 feet which a chord bearing N02°27'47"W and a chord length of 201.97
       feet, an arc distance. of 202.05 feet; thence N89°16'54"E a distance of 280.56 feet;
       thence S00°20'06"E a distance of 441.62 feet to the point of beginning.
       (the "Ada Real Property")

with all the buildings and other improvements located or constructed on the real estate,
fixtures, personal property, used on or in, and appurtenances to the real estate, and all rents,
issues, profits, and income derived from the referenced property and a security interest



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